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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION
                                   _____________________

 LUDALE RANDY JONES,
                                                       Case No. 1:99-CV-518
                Petitioner,

 v.
                                                       Hon. Richard Alan Enslen

 DAVID GUNDY, Warden,
                                                       ORDER
             Respondent.
 _________________________/


        Petitioner Ludale Randy Jones, having been denied habeas relief, has moved for permission

 to appeal in forma pauperis. Both his financial affidavit and prison trust fund account statement

 attest that he currently lacks funds to pay filing fees and like expenses. The motion is in accordance

 with federal precedent allowing habeas petitioners to proceed in forma pauperis on appeal under the

 terms of 28 U.S.C. § 1915(a)(1). See Kincade v. Sparkman, 117 F.3d 949, 951-52 (6th Cir. 1997);

 United States v. Simmonds, 111 F.3d 737, 741-43 (10th Cir. 1997).

        THEREFORE, IT IS HEREBY ORDERED that the Petitioner Ludale Randy Jones’

 Motion to Proceed in Forma Pauperis (Dkt. No. 61) is GRANTED.

                                                /s/ Richard Alan Enslen
 DATED in Kalamazoo, MI:                        RICHARD ALAN ENSLEN
     June 29, 2006                              SENIOR UNITED STATES DISTRICT JUDGE
